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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

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 IN RE THE APPLICATION OF SEAWOLF                          :
 TANKERS INC. AND HEIDMAR INC.,                            :
                                                           :   Civil Case No.: 20-Misc._____
 REQUEST FOR DISCOVERY PURSUANT                            :
                                                           :
 TO 28 U.S.C. § 1782
                                                           :
                                                           :
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          DECLARATION OF CLAYTON J. VIGNOCCHI IN SUPPORT OF
     EX PARTE APPLICATION FOR DISCOVERY PURSUANT TO 28 U.S.C. § 1782


        I, Clayton J. Vignocchi, declare as follows:

        1.       I am a member of the law firm of Holland & Knight LLP, counsel for Seawolf

Tankers Inc. (“Seawolf”) and Heidmar Inc. (“Heidmar”) (Seawolf and Heidmar, collectively

“Applicants”), and am duly admitted to practice before the United States District Court for the

District of Connecticut.

        2.       I respectfully submit this declaration in support of Applicants’ application for

discovery pursuant to 28 U.S.C. § 1782.

        3.       The statements made in this declaration are based upon my personal knowledge,

including information provided to me by Applicants and my instructing foreign counsel.

        4.       I have reviewed the Declaration of James Power, dated August 24, 2020. To the

best of my knowledge, information, and belief, based upon my investigation of the facts

surrounding this dispute and the entities and individuals, the information contained in Paragraphs

four through fifty-six of the Power Declaration accurately reflect the underlying dispute, issues,

and parties relevant to Applicants’ application for discovery pursuant to 28 U.S.C. § 1782.
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         5.      Attached hereto as Vignocchi Exhibit 1 is a true and correct copy of an Application

for Certificate of Authority, dated May 18, 2010, received from the Connecticut Secretary of State

indicating that Ridgebury Tankers Ltd. filed for registration in Connecticut.



         I declare under penalty of perjury that the foregoing is true and correct.


Dated:           New York, New York
                 August 24, 2020


                                               Respectfully Submitted,


                                               By:
                                                       Clayto
                                                           t n J. Vignocchi
                                                           to
                                                       Clayton    Vignocchi




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